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                                             June 23, 2022



Hon. H. Kenneth Schroeder, Jr.
United States Magistrate Judge
2 Niagara Square
Buffalo, New York 14202

Re:    Schneider v. City of Buffalo, et al
       18-CV-1431V(Sr)

Dear Judge Schroeder,

         As you are aware, dispositive motions are due tomorrow, Friday, June 24, 2022. I had an
unexpected family health emergency this week that has required extensive travel and other turmoil.
With the gracious consent of all opposing counsel, it is hereby requested that all dispositive motions
to be filed by July 5, 2022. Thank you in advance for your consideration in this matter

                                             Yours Truly,

                                             /s/ Matthew Albert
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cc:    Christopher Poole, Esq.
       Richard A. Grimm, III, Esq.
